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                                                             August 23, 2019

VIA ECF

Hon. Katherine Polk Failla
United States District Judge
Thurgood Marshall Courthouse
40 Foley Square, Courtroom 618
New York, New York 10007

          Re: Winter Investors, LLC et al. v. Panzer et al. (Case No.: 14-CV-6852)

Hon. Judge Failla:

       I represent EVE, LLC in the above-captioned matter. This letter is in response to Mr.
Relkin’s correspondence, dated August 22, 2019.

        As an initial matter, Mr. Relkin never communicated with me, as he stated to the Court in
his correspondence. I have checked my mail and e-mail and there is no correspondence from Mr.
Relkin. I have also contacted Mr. Relkin and asked that he forward the correspondence that he
represented to the Court was sent to me and I have not received any response.

       Although the Court requested a joint letter, this is to apprise the Court that there has been
no discovery or any activity in this matter since our last conference before the Court.



                                      Respectfully Submitted,



                                                     Asher C. Gulko
